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  1     UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
  2     ------------------------------x

  3     UNITED STATES OF AMERICA,

  4                  v.                                  17 Cr. 548 (JMF)

  5     JOSHUA ADAM SCHULTE,

  6                        Defendant.
                                                         Trial
  7     ------------------------------x

  8                                                      New York, N.Y.
                                                         July 8, 2022
  9                                                      9:00 a.m.

10      Before:

11
                                 HON. JESSE M. FURMAN,
12
                                                         District Judge
13                                                       -and a Jury-

14                                      APPEARANCES

15      DAMIAN WILLIAMS
             United States Attorney for the
16           Southern District of New York
        BY: DAVID W. DENTON JR.
17           MICHAEL D. LOCKARD
             Assistant United States Attorneys
18

19      JOSHUA A. SCHULTE, Defendant Pro Se

20
        SABRINA P. SHROFF
21      DEBORAH A. COLSON
             Standby Attorneys for Defendant
22
        Also Present:      Charlotte Cooper, Paralegal Specialist
23

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  1                If you find that the government has proved beyond a

  2     reasonable doubt that the defendant copied the backup files,

  3     you should next consider the second element.

  4                The second element that the government must prove

  5     beyond a reasonable doubt for the purpose of Count One is that

  6     the material the defendant is accused of taking is national

  7     defense information, or "NDI," which is to say that it is

  8     directly and reasonably connected with the national defense.

  9                The term "national defense" is a broad term that

10      refers to United States military establishments, intelligence,

11      and to all related activities of national preparedness.

12                 To qualify as NDI, the government must prove that the

13      material is closely held by the United States government.               In

14      determining whether material is closely held, you may consider

15      whether the material at issue was already in the public domain;

16      information typically cannot qualify as NDI if it is already in

17      the public domain.      But where information is in the public

18      domain, the fact that the information comes from the United

19      States government, or the fact that the United States

20      government considers the information to be accurate or

21      inaccurate may, itself, be NDI.

22                 Thus, where information has been made public by the

23      United States government itself, it is not closely held and

24      cannot be NDI.     Similarly, where information has been made

25      public by someone other than the United States government, and


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  1     the United States government confirms that the information came

  2     from the United States government, it is not closely held and

  3     cannot be NDI.     But,the United States government's assessment

  4     of the reliability or unreliability of publicly available

  5     information, as opposed to the information itself, can itself

  6     be closely held information relating to the national defense.

  7     In such instances, it is the confirmation of the accuracy or

  8     inaccuracy of material in the public domain and not the public

  9     domain material itself that can qualify as information relating

10      to the national defense.       The distinction between a

11      confirmation of information relating to the national defense

12      already in the public domain that can be NDI and one that

13      cannot depends on whether the confirmation itself could

14      potentially harm the national security.

15                 All of that said, if the particular information at

16      issue has been so widely circulated and is so generally

17      believed to be true or to have come from the United States

18      government that confirmation that it came from the United

19      States government would add nothing to its weight, it is not

20      closely held even if there has been no official confirmation by

21      the United States government.

22                 In determining whether material is closely held, you

23      may consider whether it has been classified by appropriate

24      authorities and whether it remained classified on the dates

25      pertinent to the indictment.        Although you may consider whether


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  1     information has been classified in determining whether it has

  2     been closely held, I caution or remind you that the mere fact

  3     that information is classified does not mean that the

  4     information qualifies as NDI.

  5                In deciding this issue, you examine the information

  6     and also consider the testimony of witnesses who testified as

  7     to its content and significance and do describe the purpose and

  8     the use to which the information could be put.

  9                Whether the information is connected with the national

10      defense is a question of fact that you, the jury, must

11      determine following the instructions that I have just given you

12      about what those terms mean.

13                 The third element that the government must prove

14      beyond a reasonable doubt for the purpose of Count One is that

15      the defendant acted for the purpose of obtaining the

16      information respecting the national defense and with the intent

17      or with reason to believe that the information were to be used

18      to the injury of the United States or used to the advantage of

19      a foreign country.

20                 In considering whether or not the defendant had the

21      intent or reason to believe that the information would be used

22      to the injury of the United States or to provide an advantage

23      to a foreign country, you may consider the nature of the

24      documents or information involved.          I emphasize that to convict

25      the defendant of Count One you must find that the defendant had


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  1     pertaining to internal computer networks of the CIA including

  2     DevLAN.    In particular, Count Three is based on the following

  3     passage on page 3 of Government Exhibit 812 and the following

  4     passage alone:

  5                "In reality, two groups -- EDG and COG -- and at least

  6     400 people, have access.       They don't include COG who is

  7     connected to our DevLAN through Hickok, an intermediary network

  8     that connected both COG and EDG.         There is absolutely no reason

  9     they shouldn't have known this connection exists.             Step one is

10      narrowing down the possible suspects and to completely

11      disregard an entire group and half the suspects as reckless.

12      All they needed to do was talk to one person on infrastructure

13      branch or through any technical description/diagram of the

14      network."

15                 For purposes of this first element, the word

16      "possession" is a commonly used and commonly understood word.

17      Basically it means the act of having or holding property or the

18      detention of property in one's power or command.             It may mean

19      actual physical possession or constructive possession.              A

20      person has constructive possession of something if he knows

21      where it is and can get it any time he wants or otherwise can

22      exercise control over it.        A person has unauthorized possession

23      of something if he is not entitled to have it.

24                 The second element that the government must prove

25      beyond a reasonable doubt for purposes of Counts Two and Three


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